Case 1:15-cr-20755-FAM Document 481 Entered on FLSD Docket 09/19/2019 Page 1 of 1



                                                UN ITED STATES D ISTRICT CO U RT
                                                SOU TH ERN D ISTRICT O F FLOR ID A

                                                Case N o.15-20755-CR-M O REN O

  U N ITED STATES O F A M ERICA ,
                Plaintiff,
  V S.                                               ORDER O F REIN STATEM ENT QF
                                                           SUPERV ISED RELEA SE
  CAM EA N E D IAN A BER M A N ,
                D efendant.            /

         On September 18,2019,the defendant,Carleane Diana Berm an,appeared before the

  Courtfor a supervised release violation hearing. D efendant adm itted guiltto a11violations of

  thePetition and the Courtaccepted said admission. Therefore,itis

         ORDERED AND ADJUDGED thatthe supervised release heretofore imposed by the

  Courtbe and the sam e ishereby REIN STA TED .

         Specialconditionsofsupervisedrelease:

            Permissible Search by U.S.Probation.

         2. Substance Abuse Treatm entProgram .

  A llotherconditionsofsupervised release w illrem ain the sam e.
         D O N E AN D O R D ERE D in O pen CourtatM iam i,D ade County,Florida this 18thday of
                                    p /,
  September,2019 and signed this Z         day ofSeptember,2019.



                                                    F D ERIC   . O REN O
                                               UNITED STATES DISTRICT JUDGE


  Copiesfurnished to:

  A llcounselofrecord
  U SPO A ntonio Redding
